                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

               -vs-                                           Case No. 09-CR-310


JOSHUA J. PARENT,

                      Defendant.

                          DECISION AND ORDER

          Before the Court is Defendant Joshua Parent’s (Parent) motion to

reduce his sentence pursuant to Amendment 782 to the United States

Sentencing Guidelines, which lowered the penalties for most drug offenses

by reducing most offense levels on the 2D1.1 Drug Quantity Table by two

levels.

          However, the Amendment does not benefit Parent because his base

offense level for committing a drug offense resulting in death was

determined under USSG § 2D1.1(a)(2). Amendment 782 altered the

§ 2D1.1(c) Drug Quantity Table, not § 2D1.1(a)(2). Because Parent’s

guidelines remain unchanged, he is not eligible for a reduction.

Accordingly, his motion must be denied.




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   IT IS HEREBY ORDERED THAT:

   Parent’s motion to reduce sentence (ECF No. 384) is DENIED.


   Dated at Milwaukee, Wisconsin, this 29th day of September, 2015.


                                          BY THE COURT:


                                          __________________________
                                          HON. RUDOLPH T. RANDA
                                          U.S. District Judge




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